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NOTICE OF REMOVAL
EXHIBIT 7
STATE COURT
PLEADINGS
Case 2:18-cv-01269-JDC-KK Document 1-11

CITATION

 

ELITE SPECIALTY WELDING, LLC Case: 20180141

 

 

Division: B
Versus 36" Judicial District Court
Parish of Beauregard
PACKAGING CORPORATIN OF AMERI CA, ET AL State of Louisiana
TO: JOSEPH AL FLORES
704 LOFTON RD
DERIDDER, LA 70634 Sos BBN eee BUY

Parish: BEAUREGARD

You are hereby cited to appear before said Court, for said Parish and to comply with the demand contained in
tle DAMAGES petition of ELITE SPECIALTY WELDING, LLC against you, a certified copy of which
accompanies this citation, or to file your answer or other pleadings to said petition in the office of the Clerk of
Court of the 36th Judicial District Court in the Beauregard Parish Court House, in the City of DeRidder within
15 days after service hereof. Your failure to comply herewith will subject you to the penalty of entry of default

judgment against you.

Witness my official signature and seal of office at DeRidder, Louisiana on 2/8/2018, Issued on this 14TH day of
MAY, 2018.

BRIAN S. LESTAGE, CLERK OF COURT

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*Also attached are the following documents

 

[SERVICE COPY]

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THIRTY-SIXTH JUDICIAL DISTRICT couRT .- :

FOR THE PARISH OF BEAUREGARD 2S FES 12 Fs 15

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STATE OF LOUISIANA

nos C*D0k O41 pivision: @
ELITE SPECIALTY WELDING, LLC
VERSUS

PACKAGING CORPORATION OF AMERICA, ERIC SNELGROVE, JOSEPH AL
4 A FLORES AND DAVID MARTINEZ
At

FILED: ae 8, OLS Arent CrPRen
¢ DEPUTY CLERK

PETITION FOR DAMAGES
Petitioner, Elite Specialty Welding, LLC, a Delaware limited liability company,

respectfully represents:

Made Defendants are:

Packaging Corporation of America, a foreign company doing business in Louisiana;

Eric Snelgrove, a person of the full age of majority and domiciliary of Louisiana;

Joseph Al Flores, a person of the full age of majority and domiciliary of Louisiana, and

David Martinez, a person of the full age of majority and domiciliary of Louisiana.

2.

Packaging Corporation of America (“PCA”) owns and operates an integrated
containerboard mill in DeRidder, Louisiana that brings wood onsite, chips and pulps the. raw
materials and makes paper {the “mill”).

3.

Elite Specialty Welding; LLC (“Elite”) provides welding and other specialized services to
industrial clients.

4,

In early 2017, as part of PCA’s annual shutdown of the mill to perform routine
maintenance, PCA contracted with Elite to provide maintenance assistance, including welding, to

repair piping in the clean condensate tank located in. PCA’s mill.
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5.

On. February 8, 2017, while employees of Elite were performing the welding services
they had been contracted to perform, the foul condensate tank near where Elite’s employees were
working exploded with such force that the tank traveled approximately 375 feet over a six story
building.

6.

This explosion caused the deaths of three Elite employees and significant injuries to
seven others.

7.

PCA and its mill managers, Eric Snelgrove (“Snelgrove”), Joseph Al Flores (“Flores”)
and David Martinez (“Martinez”), failed to provide a safe place for Elite’s employees to work
and placed Elite’s employees in danger by failing to ensure that the area in which Elite’s
employees were directed. to work was safe from all hazards and by failing to warn Elite’s
employees that PCA and its managers had failed to remove all flammable substances from the
surrounding area.

8.

The sole and proximate cause of the February 8, 2017 explosion was the gross negligence
of PCA acting independently and through its managers Snelgrove, Flores and Martinez in the
following non-exclusive respects:

1. Failing to provide Elite with a safe place to work;

2. Failing to warn Elite of all recognizable hazards;

3. Failing to evaluate the majority of the non-condensable gas system at the mill,
including the foul condensate tank,

4. Failing to conduct a process hazard analysis to identify, evaluate and control process
safety hazards;

5. Failing to empty the foul condensate tank prior to directing Elite to begin operations
thereby. placing Elite’s employees in clear and present danger;

6. Any arid all other acts of negligence which may be proven at the trial of this matter.

9.
As a direct result of Defendants’ sole negligence, PCA has incurred significant financial

losses including, but not limited to: workers’ compensation and other benefits paid to and/or on

(N3598826.1)

 
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behalf of the three deceased Elite employees; workers’ compensation and other benefits paid to
and/or on behalf of the seven injured Elite employees; property damage; investigation costs; lost
profits; damages to Elite’s business reputation; and costs associated with other litigation arising
out of the explosion.

10,

The damages at issue in this case are in excess of the jurisdictional threshold, and Elite
demands a trial by jury.

WHEREFORE, Petitioner prays that Defendants be duly cited and served with a copy of
this Petition and, after all due proceedings are had, there be a judgment in favor of Petitioner and
against the Defendants, jointly and in solido, in amounts as are reasonable in the premises,
together with legal interest thereon from date of judicial demand, until paid, and for all costs of
these proceedings.and for all other general and equitable relief.

Respectfully submitted,

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er
CHRISTOPHER 8. MANN (#26397)
PATRICK J, VETERS (#17843)

Jones WALKER. LLP

201 St. Charles Avenue, 47" Floor

New Orleans, Louisiana 70170

Telephone: (504) 582-8332

Attorneys for Elite Specialty Welding,

 

LLC
PLEASE WITHHOLD SERVICE
A TRUE AND CORRECT COPY
& OF ORIGINAL
Deptity Clerk of Court

Beauregard Parish, LA

(N3548826.1)

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STATE OF LOUISIANA
THIRTY-SIXTH JUDICIAL DISTRICT COURT

PARISH OF BEAUREGARD

ELITE SPECIALTY WELDING, LLC § DOCKET NO. C-2018-0141,

v. DIV. B
PACKAGING CORPORATION OF
AMERICA, INC, ERIC SNELGROVE,
JOSEPH AL FLORES AND DAVID
MARTINEZ

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MOTION AND ORDER FOR EXTENSION OF TIME TO FILE RESPONSIVE
PLEADINGS ON BEHALF OF ALL DEFENDANTS

NOW INTO COURT, through undersigned counsel, come ALL DEFENDANTS, who,
on suggesting to the Court that these defendants need additional time to answer plaintiff's Petition
for Damages, move for a thirty (30) day extension of time in which to file responsive pleadings.
Movers require additional time to investigate the matter and the allegations against them prior to
filing responsive pleadings and respectfully suggest that the requested extension will not prejudice
any party nor unduly delay the progress of this litigation.

Defendants were granted an informal extension to file responsive pleadings by July 9, 2018.
Defendants request the extension of time to file responsive pleadings be extended an additional 30
days putting the due date at August 8, 2018. Defendants have sought, but not yet obtained, consent
for the relief requested herein.

BIENVENU, BONNECAZE, FOCO, VIATOR &

 

 

David M. Bienvenu, Jr., #20700
F. Charles Marionneaux, #18320
Lexi T. Holinga, #30096

Patrick H. Hunt, #34599

4210 Bluebonnet Blvd.

Baton Rouge, LA 70809

Phone: (225) 388-5600

Fax: (225) 388-5622

Attorneys for All Defendants
Case 2:18-cv-01269-JDC-KK Document 1-11 Filed 09/26/18 Page 7 of 11 PagelD #: 47

- CERTIFICATE -
I hereby certify that a copy of the above has been mailed, postage prepaid and correctly

addressed, and emailed to plaintiff's counsel and emailed to all known defense counsel of record.

Baton Rouge, Louisiana, this 19" day, f July, 2018.

/ OLE
f

aaa Patrick H. Hunt

 
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STATE OF LOUISIANA
THIRTY-SIXTH JUDICIAL DISTRICT COURT

PARISH OF BEAUREGARD

ELITE SPECIALTY WELDING, INC § DOCKET NO. C-2018-0141,
§
Vv. § DIV.B
PACKAGING CORPORATION OF :
AMERICA, INC,; ERIC SNELGROVE, FAY
JOSEPH AL FLORES AND DAVID § Filed! \ q
MARTINEZ § ‘
§ BY bsnaee 9- SPaerm—
§ Deputy Clerk of Court
ORDER

Considering the foregoing Motion for Extension. of Time filed by ALL DEFENDANTS:
IT IS HEREBY ORDERED that ALL DEFENDANTS are granted until August 8, 2018,

by which to file responsive pleadings 'to plaintiff's Petition for Damages.

this /SF day of fru suet 2018.

 

JUDGE, BEA SAD PARISH

C. Kerry Anderson, District Judge
36% Judicial District Court, Division B

Case Number: 20180141 Transaction Date: 7/19/2018 Seq: 8 Page Sequence: 1
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- en Suiat Ce Court,

ELITE SPECIALTY WELDINGLLC * 36™ JUDICIAL DISTRICT COURT
*

VERSUS * DOCKET NO, 2018-0141 DIV. B
*

PACKAGING CORPORATION * PARISH OF BEAUREGARD

OF AMERICA, ERIC SNELGROVE, *

JOSEPH AL FLORES AND DAVID * STATE OF LOUISIANA

MARTINEZ

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MGTION TO WITHDRAW AND SUBSTITUTE COUNSEL OF RECORD

NOW INTO COURT comes Packaging Corporation of America, Eric Snelgrove, Joseph
Al Flores, and David Martinez who hereby move this Honorable Court for an Order withdrawing
David M, Bienvenu, Jr. F. Charles Marionneaux, Lexi Trahan Holinga, and Patrick Hayes Hunt
and the firm of Bienvenu, Bonnecaze, Foco, Viator & Holinga, APLLC, as their own counsel of
record, and substituting Jennifer E. Michel, Jeffrey A. Riggs, and Ericka L. Richoux of the law
firm of Lewis, Brisbois, Bisgaard & Smith, as counsel of record for Packaging Corporation of
America, Eric Snelgrove, Joseph Al Flores and David Martinez in the above captioned matter.

WHEREFORE, Packaging Corporation of America prays that David M. Bienvenu, Jr. F,
Charles Marionneaux, Lexi Trahan Holinga, and Patrick Hayes Hunt and the firm of Bienvenu,
Bonnecaze, Foco, Viator & Holinga, APLLC be withdrawn as their own counsel of record and
that Jennifer E. Michel, Jeffrey A. Riggs and Ericka L. Richoux of the law firm of Lewis,
Brisbois, Bisgaard & Smith be substituted as counsel of record for Packaging Corporation of
America, Eric Snelgrove, Joseph Al Flores and David Martinez.

Respectfully submitted,

_— No

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DAVIN Me BIENVENU, JR. (#20700)
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Cc
enn

F. CHARLES MARIONNEAUX (#18320)
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LEXI TRAHAN HOLINGA (#30096)
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Lao Z
JEMNIBERE-MIGHEY (12608 3989) —>
eee RIGS (#24047624)

ERICKA L, RICHOUX (#37281)

LEWIS BRISBOIS BISGAARD & SMITH, LLP

100 East Vermilion St., Ste. 300

Lafayette, LA 70501

Telephone: 337.326.5777

Facsimile: 337.504.3341

Counsel for Packaging Corporation of America,

Eric Snelgrove, Joseph Al Flores, and David Martinez

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the foregoing Motion to Withdraw
and Substitute Counsel has been forwarded to Patrick J. Veters, Jones Walker, 201 St. Charles

Ave., New Orleans, LA 70170, pveters@joneswalker.com, counsel for Plaintiff, via electronic

 

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ELITE SPECIALTY WELDING LLC 36™ JUDICIAL DISTRICT COURT

VERSUS DOCKET NO. 2018-0141 DIV. B
PACKAGING CORPORATION

OF AMERICA, ERIC SNELGROVE,
JOSEPH AL FLORES AND DAVID
MARTINEZ

PURO ETUDE CREE ORR Ot

PARISH OF BEAUREGARD

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* STATE OF LOUISIANA

ORDER Fife:

IT IS HEREBY ORDERED that David M. Bienvent, Jr. F@paqesIMMREPEGIR TO

  
 

Trahan Holinga, and Patrick Hayes Hunt and the firm of Bienvenu, Bonnecaze, Foco, Viator &
Holinga, APLLC, be withdrawn as counsel of record for Packaging Corporation of America, Eric
Snelgrove, Joseph Al Flores and David Martinez and that Jennifer E. Michel, Jeffrey A. Riggs,
and Ericka Richoux of the law firm of Lewis, Brisbois, Bisgaard & Smith be added as counsel of

record for Packaging Corporation of America in the above captioned matter.

2 , Louisiana, this day of
De Padaar lo*

 

 

2018.

   

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3678 JUDICIAL DISTEACT COURT TUDGE

4840-6553-2528,1

 
